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               IN THE UNITED STATES DISTRICT COURT
      FOR THE NORTHERN DISTRICT OF ILLINOIS, EASTERN DIVISION

Walter Brzowski,                              )
                                              )
                         Plaintiff,           )
                                              )
       v.                                     )      Case No. 17 CV 9339
                                              )
Illinois Department of Corrections, et al.,   )      Judge Matthew F. Kennelly
                                              )
                         Defendants.          )

     DEFENDANTS’ MEMORANDUM IN SUPPORT OF THEIR MOTION TO
   DISMISS PLAINTIFF’S COMPLAINT PURSUANT TO FED. R. CIV. P. 12(b)(6)

       Defendants, Illinois Department of Corrections (“IDOC”), Michael Melvin, Guy

Pierce, Nicholas Lamb, Brenda Sigler, and David Hadley, by and through their attorney,

Lisa Madigan, Attorney General of Illinois, submit the following memorandum of law

in support of their Fed. R. Civ. P. 12(b)(6) motion to dismiss Plaintiff’s Complaint.

                                      INTRODUCTION

       Plaintiff Walter Brzowski brings this six-count lawsuit under 42 U.S.C. § 1983

alleging that the IDOC and Defendants Michael Melvin (Pontiac Warden), Guy Pierce

(former Assistant Warden at Pontiac), Nicholas Lamb (former Warden of Stateville),

Brenda Sigler (Pontiac Records Department Supervisor), and David Hadley

(Correctional Officer at Pontiac) alleging that they wrongfully detained him for 721

days, in violation of his right under the Due Process Clause (Count I). (ECF No. 1).

Plaintiff also brings Section 1983 claims for false imprisonment (Count II) and failure to

intervene (Count IV) against all Defendants; an Eighth Amendment claim (Count III)

against the IDOC and Defendants Pierce and Melvin; and claims for respondeat superior


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(Count V) and indemnification (Count VI) against the IDOC. (ECF No. 1, at 7-9).

Plaintiff is suing the Defendants in their official capacities and seeks compensatory

damages and attorney’s fees on all six claims. (ECF No. 1, at 2-10). Plaintiff’s Complaint

fails to state a claim against the IDOC and the IDOC Defendants and should be

dismissed in its entirety.

                                      BACKGROUND

        According to the Complaint, Plaintiff was convicted of two criminal cases in May

2012 and June 2012 that resulted in a combined sentence of four years imprisonment

and four to eight years Mandatory Supervised Release (“MSR”). (ECF No. 1, ¶¶ 11-14).

On September 10, 2013, Plaintiff was released from the IDOC custody to begin serving a

four-year MSR term. (Id. at ¶ 16). Less than a month later, Plaintiff was arrested for

violating his MSR and remanded to IDOC. (Id. at ¶ 17). On October 10, 2014, Plaintiff

was found not guilty of the criminal case that caused the MSR violation and he

subsequently filed a petition for habeas corpus for his release. (Id. at ¶¶ 18-19).

Meanwhile, the Illinois Appellate Court reversed and remanded Plaintiff’s 2012

convictions that he appealed. (Id. at ¶ 20). Plaintiff was then re-sentenced to three years

in prison and four years MSR on July 22, 2015. (Id. at ¶ 21). Plaintiff alleges that

according to the sentence calculation, this required him to serve only eight more days in

IDOC custody, or until July 30, 2015. (Id. at ¶ 24). On June 8, 2017, the Illinois Appellate

Court ordered the IDOC to release Plaintiff, unless the trial court determined that he

was being held on any other charges. (Id. at ¶ 26). Plaintiff was released on July 20, 2017.

(Id. at ¶ 27).


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                                     LEGAL STANDARD

       To survive a Rule 12(b)(6) motion to dismiss, a complaint must contain sufficient

facts to “state a claim to relief that is plausible on its face.” Ashcroft v. Iqbal, 556 U.S. 662,

678 (2009) (citing Bell Atl. Corp. v. Twombly, 550 U.S. 544, 555 (2007)). “A claim has facial

plausibility when the plaintiff pleads factual content that allows the court to draw the

reasonable inference that the defendant is liable for the misconduct alleged.” Id. This

“standard demands more than an unadorned, the-defendant-unlawfully-harmed-me

accusation.” Id. While “detailed factual allegations” are not required, “labels and

conclusions, and a formulaic recitation of the elements of a cause of action will not do.”

Twombly, 550 U.S. at 555. The Court need not draw inferences which are not apparent

on the face of the complaint. McCauley v. City of Chicago, 671 F.3d 611, 616 (7th Cir.

2011). Furthermore, to be liable under Section 1983, an individual must have caused or

participated in a constitutional deprivation. Kuhn v. Goodlow, 678 F.3d 552, 556 (7th Cir.

2012); Pepper v. Vill. Of Oak Park, 430 F.3d 809, 810 (7th Cir. 2005).

                                         ARGUMENT

       Plaintiff’s Complaint should be dismissed because the Eleventh Amendment

bars suits against the State and state officials acting in their official capacities for

monetary damages. Wynn v. Southward, 251 F.3d 588, 592 (7th Cir. 2001); Kentucky v.

Graham, 473 U.S. 159, 169 (1985). Section 1983 provides a federal remedy against any

“person” who, under color of state law, deprives “any citizen of the United States...of

any rights, privileges, or immunities secured by the Constitution and laws.” Planned

Parenthood of Indiana, Inc. v. Commissioner of Indiana State Dep't. Health, 699 F.3d 962, 972


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(7th Cir. 2012) (quoting 42 U.S.C. § 1983). Additionally, the Supreme Court has held that

“neither a State nor its officials acting in their official capacities are ‘persons’ under

[Section] 1983.” Will v. Mich. Dep’t of State Police, 491 U.S. 58, 71 (1989).

         Here, Plaintiff requests monetary relief against the IDOC and the individual

Defendants in their official capacities. (ECF No. 1). A suit for money damages against a

defendant in his or her official capacity is really a suit for money damages against the

state, which is barred by the Eleventh Amendment. Shockley v. Jones, 823 F.2d 1068, 1070

(7th Cir. 1987). Therefore, Plaintiff’s entire Complaint, as pled, is barred by the Eleventh

Amendment and should be dismissed. In addition, as set forth more fully below, even if

Plaintiff were able cure the technical defects in his pleading, his Complaint should still

be dismissed for failure to state a claim against the IDOC Defendants.

  I.     Plaintiff’s claims against the IDOC should be dismissed with prejudice as a
         matter of law.

            1. Respondeat Superior (Count V)

         Count V of Plaintiff’s Complaint fails as a matter of law because the IDOC is not

a ‘person’ capable of being sued for money damages and the doctrine of respondeat

superior does not apply to suits brought under Section 1983. Will, 491 U.S. at 71; Sanville

v. McCaughtry, 266 F.3d 724, 740 (7th Cir. 2001). “To be liable under Section 1983, an

individual must have caused or participated in a constitutional deprivation.”

Pepper, 430 F.3d at 810 (citations omitted). Because personal involvement is required for

liability to attach, the respondeat superior doctrine does not apply to Section 1983 actions.

Sanville, 266 F.3d at 740 (quoting Chavez v. Ill. State Police, 251 F.3d 612, 651 (7th Cir.



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2001)); see also Kuhn, 678 F.3d at 556 (“an individual cannot be held liable in a § 1983

action unless he caused or participated in an alleged constitutional deprivation.”).

       Here, all of Plaintiff’s claims are brought pursuant to 42 U.S.C. § 1983. (ECF No.

1). As to Count V, Plaintiff alleges that the Defendants were agents of the IDOC acting

within the scope of their employee while committing the alleged misconduct, and that

Defendant IDOC is liable as a principal for all torts committed by its agents. (ECF No. 1,

¶¶ 43-45). However, the Eleventh Amendment and Supreme Court precedent do not

permit a claim against the IDOC for compensatory damages under the doctrine of

respondeat superior. Therefore, Count V of Plaintiff’s Complaint should be dismissed

with prejudice.

          2. Indemnification (Count VI)

       Count VI of Plaintiff’s Complaint should be dismissed because the Eleventh

Amendment bars citizens from bringing suits against the State for money damages in

federal court. Although the Eleventh Amendment does not shield state employees from

tort claims, federal courts must look to state immunity rules regarding state law causes

of action. Magdziak v. Byrd, 96 F.3d 1045, 1048 (7th Cir. 1996). In Illinois, the Court of

Claims has exclusive jurisdiction over “claims against the State founded upon any law

of the State of Illinois or upon any regulation adopted thereunder by an executive or

administrative officer or agency....” 705 ILCS 505/8(a). Here, Plaintiff’s indemnification

claim against the IDOC is actually a claim against the State seeking money damages for

the IDOC Defendants’ actions, which must be brought in the Illinois Court of Claims.

Armato v. Grounds, 944 F. Supp. 2d 627, 635–36 (C.D. Ill. 2013), aff'd, 766 F.3d 713 (7th


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Cir. 2014). In sum, the Court does not have jurisdiction over Plaintiff’s indemnification

claim. Thus, Count VI of Plaintiff’s Complaint should be dismissed with prejudice.

 II.     Plaintiff’s Failure to Intervene claim (Count IV) should be dismissed because
         his Complaint lacks sufficient facts to state a claim against each Defendant.

         Plaintiff fails to state a claim for failure to intervene because his Complaint does

not allege that Defendants were aware that he remained in custody past his MSR date,

or that Defendants had any opportunities to intervene. To state a failure to intervene

claim, Plaintiff must show that Defendants: “(1) knew that a constitutional violation

was committed; and (2) had a realistic opportunity to prevent.” Gill v. City of

Milwaukee, 850 F.3d 335, 342 (7th Cir. 2017).

         Count IV of Plaintiff’s Complaint alleges that, “Defendants stood by without

intervening to prevent the violation of Mr. Brzowski’s constitutional rights, even

though they had an opportunity to do so” (ECF No. 1, ¶ 41); and that “Defendants had

ample, reasonable opportunities to prevent this harm but failed to do so.” (ECF No. 1, ¶

42). To support this claim, Plaintiff merely makes a blanket assertion that he “was

wrongfully forced to serve an extra 721 days in IDOC despite his repeated pleas to be

released.” (ECF No. 1, ¶ 10). However, Plaintiff does not state which individuals he

made these “repeated pleas” to, nor does he provide any facts as to the timing,

circumstances, form, or substance of his pleas. In fact, nowhere in Plaintiff’s Complaint

does he allege that Defendants Melvin, Pierce, Lamb, Sigler, or Hadley were made

aware of his complaints that he should be released from custody, or that any of these

Defendants had a realistic opportunity to intervene and stop the alleged constitutional



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violations. See Montano v. City of Chicago, 535 F.3d 558, 569 (7th Cir. 2008) (providing

that the officer must have been “informed of the facts that establish a constitutional

violation and had the ability to prevent it”) (citation omitted). Furthermore, Defendant

Lamb cannot be held liable because was working at Stateville (ECF No. 1, ¶ 6), and not

present during the time period in which Plaintiff claims he was wrongfully held at

Pontiac. See Powell v. City of Berwyn, 68 F. Supp. 3d 929, 942 (N.D. Ill. 2014) (stating that

officers who are not present during a constitutional violation cannot be held liable for

a failure to intervene). Simply put, Plaintiff fails to adequately plead a failure to

intervene claim under the standard set forth in Twombly and Iqbal. While “detailed

factual allegations” are not required, “labels and conclusions, and a formulaic recitation of

the elements of a cause of action will not do.” Twombly, 550 U.S. at 555 (emphasis added).

Thus, Count IV of Plaintiff’s Complaint should be dismissed.

III.     Plaintiff’s Due Process claim (Count I) should be dismissed against all
         Defendants because Plaintiff had adequate state court remedies.

         The allegations in Plaintiff’s Complaint are insufficient to state a due process

claim because adequate state court remedies existed that were available and utilized by

Plaintiff. To succeed on a Due Process Clause claim, Plaintiff must prove the following:

(1) a cognizable liberty interest; (2) a deprivation of that liberty interest occurred; and

(3) an absence of due process caused by Defendants’ conduct. See Mann v. Vogel, 707

F.3d 872, 877 (7th Cir. 2013) (citing Khan v. Bland, 630 F.3d 519, 527 (7th Cir. 2010));

Toney-El v. Franzen, 777 F.2d 1224, 1227 (7th Cir. 1985). “In section 1983 actions

challenging the mistakes made by state employees rather than the state procedures by



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which those mistakes were made, courts must consider the adequacy and availability of

remedies under state law before concluding that a deprivation of life, liberty, or

property violates due process of law.” Figgs v. Dawson, 829 F.3d 895, 907 (7th Cir. 2016)

(citations omitted). The Seventh Circuit has found that adequate remedies could include

a Petition for Writ of Habeas Corpus filed in state court, a Petition for Writ of

Mandamus, or a false imprisonment claim for monetary damages brought in state court

under Illinois tort law. See Armato v. Grounds, 766 F.3d 713, 722 (7th Cir. 2014) (finding

that state court remedies giving an inmate the right to seek a writ of mandamus from

the state court and a cause of action in Illinois courts were both adequate and available

remedies, precluding plaintiff’s due process claim).

        Here, Plaintiff alleges that he filed a petition for habeas corpus in the Circuit Court

of Will County in fall 2014 that stated he had served his time and should be released.

(ECF No. 1, ¶ 19). Not only did Plaintiff have adequate state court remedies, he took

advantage of them by filing the habeas corpus petition. See Figgs, 829 F.3d at 907 (finding

that the state court proceeding precluded plaintiff’s procedural due process claim and

noting this is consistent with Toney-El, where the court found that the state-court habeas

corpus remedy was adequate despite the fact that the prisoner plaintiff had been held

for 306 days past his lawful term of incarceration). Thus, Plaintiff is precluded from

bringing a federal due process claim against the IDOC Defendants, and Count I of his

Complaint should be dismissed.

IV.     Plaintiff’s Section 1983 False Imprisonment claim (Count II) should be
        dismissed because it is time-barred.



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       Plaintiff’s false imprisonment claim alleged against the IDOC Defendants should

be dismissed because it was filed after the statute of limitations expired. Although

failure to file within the limitations period is an affirmative defense (FED. R. CIV. P. 8(c))

and typically, “complaints do not have to anticipate affirmative defenses to survive a

motion to dismiss,” dismissal is appropriate when “the allegations of the complaint

itself set forth everything necessary to satisfy the affirmative defense, such as when a

complaint plainly reveals that an action is untimely under the governing statute of

limitations.” United States v. Lewis, 411 F.3d 838, 842 (7th Cir. 2005) (citing Leavell v.

Kieffer, 189 F.3d 492, 495 (7th Cir. 1999)). “When the plaintiff effectively pleads himself

out of court by alleging facts sufficient to establish a statute of limitations defense,

dismissal is appropriate.” Reyes v. City of Chicago, 585 F.Supp.2d 1010, 1014-15 (N.D. Ill.

Oct. 28, 2008) (citations omitted).

       Under Illinois law, the appropriate statute of limitations for § 1983 claims is two

years. 735 ILCS § 5/13-202; Ashafa v. City of Chicago, 146 F.3d 459, 461 (7th Cir. 1998). “A

Section 1983 claim accrues when the plaintiff knows or has reason to know of the injury

that is the basis of his action.” Sellars v. Perry, 80 F.3d 243, 245 (7th Cir. 1996) (citing

Hondo, Inc. v. Sterling, 21 F.3d 775, 778 (7th Cir. 1994)). With regard to false

imprisonment claims, the Seventh Circuit set out a clear rule that a Fourth Amendment

§ 1983 claim accrues at the time of the improper arrest. Wallace v. City of Chicago, 440

F.3d 421, 428 (7th Cir. 2006).

       Here, Plaintiff alleges that he was falsely imprisoned from July 30, 2015 to July

20, 2017. (ECF No. 1, at 5-6). Plaintiff had two years from the date he claims he should


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have been released from IDOC custody, or until July 30, 2017, to bring this claim.

However, Plaintiff did not file this lawsuit until December 28, 2017. (ECF No. 1).

Therefore, Count II of Plaintiff’s Complaint should be dismissed as untimely.

 V.      Plaintiff’s Eighth Amendment claim (Count III) should be dismissed because
         he fails to state a claim against the IDOC and Defendants Pierce and Melvin.

         Plaintiff’s Eighth Amendment claim should be dismissed because the IDOC is

not a proper party and he fails to state sufficient facts to show Defendants Pierce and

Melvin were personally involved in the alleged constitutional violation. An Eighth

Amendment claim requires Plaintiff to show that “the defendants held him beyond the

term of his incarceration without penological justification, and that the prolonged

detention was the result of the defendants' ‘deliberate indifference.’” Armato v. Grounds,

766 F.3d 713, 721 (7th Cir. 2014) (citing Campbell v. Peters, 256 F.3d 695, 700 (7th Cir.

2001)). Proving deliberate indifference requires more than a showing of negligent or

even grossly negligent behavior; rather, a defendant must have acted with the

equivalent of criminal recklessness. Farmer v. Brennan, 511 U.S. 825, 835–37 (1994);

McGee v. Adams, 721 F.3d 474, 480-81 (7th Cir. 2013).

         Here, Plaintiff alleges that, “Defendants were deliberately indifferent to Mr.

Brzowski’s requests to be freed.” (ECF No. 1, ¶ 38). Plaintiff further claims that housing

him in segregation for 17 months violates his Eighth Amendment rights because he was

“wrongfully incarcerated, and subject to restrictive conditions.” (ECF No. 1, ¶ 39).

Again, Plaintiff merely recites the elements of the claim, but does not allege facts to

support his blanket assertions, nor does he cite to any acts by Defendants Pierce or



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Melvin that could show deliberate indifference. Plaintiff has not alleged that

Defendants were aware of his complaints that he was held past his release date, that

they communicated with him at any time, or that they were involved in sentence

calculations or release decisions. Plaintiff also does not allege that Defendants were

aware of, or involved in the incident that led to his placement in segregation. In fact,

Plaintiff’s Complaint is void of any specific factual allegations against Defendants Pierce

and Melvin. Thus, Plaintiff’s Eighth Amendment claim (Count III) should be dismissed.

       WHEREFORE, for the reasons stated above, Defendants respectfully request that

this Honorable Court grant their Rule 12(b)(6) motion and enter an order dismissing

Plaintiff’s Complaint, and for such other relief as the Court finds just and reasonable.



                                                  Respectfully submitted,

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